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                                   4                               UNITED STATES DISTRICT COURT
                                   5                           NORTHERN DISTRICT OF CALIFORNIA
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                                        WILLIE MAJORS,
                                   7                                                   Case No. 22-cv-01343-RS (PR)
                                                      Plaintiff,
                                   8
                                                v.                                     ORDER OF DISMISSAL
                                   9
                                        DAVE PINE, et al.,
                                  10
                                                      Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Mail sent by the Court to plaintiff was returned as undeliverable more than 60 days
                                  14   ago. (Dkt. No. 10.) Accordingly, this federal civil rights action is DISMISSED (without
                                  15   prejudice) because plaintiff failed to keep the Court apprised of his current address
                                  16   pursuant to Civil Local Rule 3-11(b) and because he failed to prosecute this matter, see
                                  17   Federal Rule of Civil Procedure 41(b). Because this dismissal is without prejudice,
                                  18   plaintiff may move to reopen the action. Any motion to reopen must have the words
                                  19   MOTION TO REOPEN on the first page. The Clerk shall enter judgment in favor of
                                  20   defendants, and close the file.
                                  21          IT IS SO ORDERED.
                                  22               26 2022
                                       Dated: July ___,
                                                                                        _________________________
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                                                                                            RICHARD SEEBORG
                                  24                                                    Chief United States District Judge
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